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 (06/2017)




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF WEST VIRGINIA
                                   AT BECKLEY
                                       SELECT ONE:


MOUNTAIN VALLEY PIPELINE, LLC,                         DISCLOSURE OF CORPORATE AFFILIATIONS
                                                       AND FINANCIAL INTEREST
 v.

                                                       CASE NUMBER 5:23-CV-00625
MELINDA ANN TUHUS




         Pursuant to F R Civ P 7.1,Defendant
                                   _________________________________________________,
                                              (type of party)
who is MELINDA   ANN THUSUS
       ________________________________________, makes the following disclosure:
                   (name of party)



 1.      Is the party a non-governmental corporate party?

               □ YES                           □✔ NO
 2.      If the answer to Number 1 is “yes,” list below any parent corporation or state that there is
         no such corporation:



 3.      If the answer to Number 1 is “yes,” list below any publicly-held corporation that owns
         10% or more of the party’s stock or state that there is no such corporation:



         The undersigned party understand that under F R Civ P 7.1, it will promptly file a
         supplemental statement upon any change in the information that this statement requires.




             September 28, 2023                  s/William V. DePaulo
 Date:
                                                                Signature of Counsel for Party
